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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF TEXAS
                              HOUSTON DIVISION

UNITED STATES OF AMERICA,                     §
                                              §
                     Government,              §
                                              §
VS.                                           §     CRIMINAL NO. H-10-696-4
                                              §
OMAR IVAN MONITA,                             §
                                              §
                     Defendant.               §

                                          ORDER

       Defendant Omar Monita filed a motion for appointment of counsel, (Docket Entry No. 61).

The motion is GRANTED. The magistrate judge will appoint counsel to represent the defendant.

              SIGNED on March 11, 2011, at Houston, Texas.


                                                  ______________________________________
                                                           Lee H. Rosenthal
                                                     United States District Judge
